              IN THE DISTRICT COURT OF THE UNITED STATES
             FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                         BRYSON CITY DIVISION
                               2:04CR116-3

UNITED STATES OF AMERICA,                                 )
                                                          )
Vs.                                                       )              ORDER
                                                          )
BOBBIE DEAN WEBB.                                         )
__________________________________                        )

       THIS MATTER is before the court upon defendant’s Motion to Waive Detention

Hearing. Having considered defendant’s Motion to Waive Detention Hearing and reviewed

the pleadings, and it appearing that good cause has been shown for the relief sought, the court

enters the following Order.




                                          ORDER

       IT IS, THEREFORE, ORDERED that defendant’s Motion to Waive Detention

Hearing (#68) is GRANTED, and the detention hearing scheduled for April 20, 2006, is

cancelled. The court shall enter a separate Order of Detention Pending Trial detaining the

defendant.



                                                   Signed: April 19, 2006




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